 Case 1:16-cv-01316-GJQ-RSK ECF No. 10 filed 02/21/17 PageID.67 Page 1 of 6




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



DAWN TOWNLEY,                                                 Case No.: 16-cv-1316
    Plaintiff,
                                                              Hon. GORDON J. QUIST
v.
                                                              Mag. Judge RAY KENT
CITY COUNCIL for the CITY OF
HILLSDALE,
CITY OF HILLSDALE BOARD OF
PUBLIC UTILITIES,
MICHAEL BARBER, and
DAVID MACKIE,
     Defendants.

______________________________________________________________________________

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______________________________________________________________________________

                                    JOINT STATUS REPORT


A Rule 16 Scheduling Conference is scheduled for the 2nd day of March, 2017. Appearing for
the parties will be:

Collin Nyeholt for the Plaintiffs
Audrey Forbush for the Defendants

     1. Jurisdiction: The basis for the court’s jurisdiction is:



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    Case 1:16-cv-01316-GJQ-RSK ECF No. 10 filed 02/21/17 PageID.68 Page 2 of 6



Federal question, pursuant to 28 USC § 1331, with pendant state claims pursuant to 28 USC §
1367.

     2. Jury or Non-jury: The case is to be tried before a jury.

     3. Judicial Availability: The parties do not agree to have a United States Magistrate Judge
        conduct any and all further proceedings in the case, including trial, and the entry of final
        judgment.

     4. Geographic Transfer: Plaintiff does not believe that geographic transfer is warranted in
        this case.

     5. Statement of the Case:

     Plaintiff’s Statement: This is a whistleblower claim with a discrimination twist. Dawn
     Townley was employed by the City of Hillsdale’s Board of Public Utilities (“BPU”) as its
     Finance Controller. In the course of her employment, she was asked by Defendant Mackie,
     the City Manager, to investigate embezzlement by former employees of the BPU. She came
     to learn that Defendant Barber, the BPU’s current Director of Public Works, was also
     involved in activity that she identified as embezzlement. She told him so. She began to audit
     him. And, she discussed this audit with the City’s auditing firm, the City attorney, and
     various other City officials. In response, Barber almost immediately began harassing
     Townley at work. At one point, he told another BPU employee (within Townley and the
     auditors’ earshot) that he could “push Dawn until she quits” and said “hopefully, she’ll just
     leave so we can get rid of her.” In targeting Townley for harassment because of her
     investigation of his embezzlement, Barber violated both state and federal1 whistleblower
     protection law. In specifically setting out to cause Townley stress, Barber committed
     Intentional Infliction of Emotional Distress in violation of Michigan law.

     The particular pretext Barber used to “push” Townley was also unlawful in its own right.
     Barber targeted Townely for discipline for “sexual harassment” based on shop talk type
     conversations she was engaged in, while tolerating similar behavior from the male
     employees. On at least one occasion, Townley was disciplined for a supposedly
     inappropriate conversation one of the male employees initiated with her. The male who
     initiated the conversation was not similarly disciplined. By treating Townley, a female, in a


1 The City and the BPU, through arrangements with the Michigan Finance Authority (“MFA”), was required to regularly
report the BPU’s financial status as a condition of its offering municipal bonds to the public. The SEC does not directly
regulate municipal bond issuers, but instead regulates the MFA as a secondary seller of municipal bonds. The MFA, in
conformance with SEC regulation 17 CFR 240.15c2-12, is in turn required to enter into a private agreement with the
BPU that requires it to submit to regular financial reporting as a condition of offering municipal bonds. The SEC can,
and periodically does, exercise jurisdiction over municipal bond issuers by virtue of Rule 15c2-12 agreements they have
entered. EG: In re Berrien, File No. 3-17450 (SEC 8/24/16) (SEC cease and desist proceedings against County of
Berrien.) The embezzlement Townley investigated would have resulted in misstatements on BPU’s financial statements.
As such, her embezzlement audit was activity protected by the SEC Act, 18 USC § 1514A. As recognized by the Sixth
Circuit, the 2010 Dodd-Frank Act did away with 1514A’s administrative exhaustion requirement and allows parties like
Townley to file a 1514A retaliation claim directly in federal court. Rhinehimer v. US Bancorp, 787 F.3d 797, 804-5 (6th Cir.
2015).

                                                             2
Case 1:16-cv-01316-GJQ-RSK ECF No. 10 filed 02/21/17 PageID.69 Page 3 of 6



 materially different manner than the males at BPU, Barber committed unlawful gender
 discrimination.

 Barber’s harassment did what he intended it to do: Townley suffered significant and severe
 emotional distress because of his actions. She was, for the first time in her life, diagnosed
 with bipolar disorder as a result of the stress Barber put her under. After one particularly bad
 incident with Barber, she had a nervous breakdown and was later involuntarily committed for
 treatment. She told City Manager David Mackie, and others, about her bipolar diagnosis.
 When he fired her, Mackie told her “in your mental state, you are no good to us or to
 anyone,” referring to her mental state and her diagnosis. In considering Townley’s bipolar
 disorder in terminating her, Mackie committed disability discrimination.

 Approximately two weeks before her termination, Townley had pressed Barber and Mackie
 to comply with the FLSA with respect to breaks for salaried employees in the BPU. They
 complied, but made Townley aware they were unhappy doing so. To the extent this action
 on her part played into their decision to terminate her, it was a violation of the FLSA’s anti-
 retaliation provisions.

 Defendants’ Statement: Plaintiff was terminated and her position was eliminated because
 she was not performing her duties, was not completing tasks, was insubordinate, was
 inappropriate in her behavior, failed to supervise her staff and/or be accessible to them, made
 threats and failed to come to work on a regular basis. In fact, Plaintiff would frequently
 leave her office for hours at a time on a daily basis. Her work performance was exceedingly
 poor and her behavior, both sexual and otherwise, was inappropriate in the workplace and
 made her coworkers very uncomfortable.

 Plaintiff’s allegation that she is a “whistleblower” is false – she did not uncover the
 embezzlement of “millions of dollars” as claimed in her complaint; no one has been charged
 with embezzlement and the analysts from Plante & Moran will confirm the falsity of her
 claims. While Plaintiff was asked to look for information related to prior credit card usage,
 no evidence was uncovered that established any impropriety by Mr. Barber, the current
 Director of the BPU, and she reported none. Moreover, the only credit card abuse that has
 been confirmed is that committed by Plaintiff herself – when she charged personal medical
 treatment to the City’s credit card!

 Mr. Barber had no knowledge that Plaintiff was purportedly “auditing” him and denies the
 allegations she has made referencing statements made by him. Rather, Mr. Barber could not
 get Plaintiff to perform the essential functions of her job – she was unable to provide him
 with month end financial statements for the BPU and was not paying bills on time. Her tasks
 were not completed on a timely basis and she was frequently absent from work without
 explanation. She was not “disciplined” unfairly. However, when she and a male coworker
 entered into a discussion about whether Plaintiff’s breasts were “real or fake” (a conversation
 she had with numerous male employees), Mr. Barber spoke with both employees separately
 and verbally reprimanded them. Mr. Barber took no overt action to “force” Plaintiff out. He
 simply required her to perform the duties of her important position. When she made
 mistakes (such as poorly kept meeting minutes), he corrected those mistakes. Plaintiff would

                                              3
Case 1:16-cv-01316-GJQ-RSK ECF No. 10 filed 02/21/17 PageID.70 Page 4 of 6



 overreact and take it as personal as opposed to a supervisor appropriately pointing out the
 errors of his subordinate.

 It quickly became apparent to all dealing with Plaintiff that she was not qualified for her
 position. The Defendants had no notice of Plaintiff’s alleged bipolar diagnosis and have
 never received any documentation regarding same from any medical provider. Her
 termination was unrelated to any alleged medical or psychiatric condition.

 Plaintiff’s position has been eliminated and in keeping with the original plan when Plaintiff
 was hired, the BPU financials have been transferred to the accounting department at City
 Hall.

 6. Pendent State Claims: This case does involve pendent state claims.

 7. Joinder of Parties and Amendment of Pleadings: The parties expect to file all motions
    for joinder of parties to this action and to file all motions to amend the pleadings by June
    8, 2017.

 8. Disclosures and Exchanges:

        (i)     Fed.R.Civ.P. 26(a)(1) disclosures shall be made by plaintiff by April 8, 2017
                and by defendant by April 8, 2017.
        (ii)    The plaintiff expects to be able to furnish the names of plaintiff’s expert
                witnesses to the defendant by May 8, 2017. The defendant expects to be able
                to furnish the names of the defendant’s expert witnesses to plaintiff by June 8,
                2017. In this case, it would be advisable to exchange written expert witness
                reports as contemplated by Fed.R.Civ.P. 26(a)(2). Plaintiff will provide
                expert reports by June 8, 2017. Defendant will provide expert reports by July
                8, 2017.
        (iii)   The parties are unable to agree on voluntary production at this time.

 9. Discovery: The parties believe that all discovery proceedings can be completed by
    September 8, 2017. The parties recommend the following discovery plan: The parties
    will conduct discovery on all subjects permissible within the scope of the Federal Rules,
    including but not limited to Plaintiff’s employment, the embezzlement investigation, her
    mental status, and her termination. The parties recommend application of the
    presumptive limitations of discovery and to deposition numbers and length.

 10. Disclosure or Discovery of Electronically Stored Information: The parties have
     discussed the production of electronically stored information and suggest that such
     information be handled as follows:

    Plaintiff anticipates significant discovery as to emails, memos, reports, and other
    electronic documents related to this dispute. Plaintiff will accept such documents in .pdf
    format. Plaintiff also anticipates text messages and telephonic messages to be exchanged
    in this process. Plaintiff proposes that text messages be produced in screen shot format in

                                             4
Case 1:16-cv-01316-GJQ-RSK ECF No. 10 filed 02/21/17 PageID.71 Page 5 of 6



    a .pdf or similar file. And, Plaintiff proposes that any recordings be produced in .wav file
    or similar. Defendants agree with this proposal as it is anticipated that the majority of
    text messages and recordings are in the possession of Plaintiff at this time. Plaintiff has
    failed to return her City-owned cell phone despite repeated requests for same and
    Defendants request that this Honorable Court order her to do so. Plaintiff has agreed to
    return the cell phone subject to Defense counsel’s agreement to preserve relevant
    evidence contained thereon and, as noted through several correspondence with
    Defendants’ counsel, is coordinating the return through her attorney the undersigned.

 11. Assertion of Claims of Privilege or Work-Product Immunity After Production:
    The parties will agree to follow the procedures contained in Fed.R.Civ.Pr. 26(b)(5)(B) in
    the event of any inadvertent production. The parties acknowledge that inadvertent
    production does not constitute waiver of privilege, and do not anticipate that an order
    pursuant to Fed.R.Ev. 502 is needed at this time.

 12. Motions: The parties acknowledge that W.D. Mich. LCivR 7.1(d) requires the moving
     party to ascertain whether the motion will be opposed. All motions shall affirmatively
     state the efforts of the moving party to comply with the obligation created by Rule 7.1(d).

    The following dispositive motions are contemplated by each party:
    From the plaintiff, none. Defendants anticipate filing a Motion for Summary Judgment
    as to all claims by Plaintiff.

 13. Alternative Dispute Resolution: The parties recommend that this case be submitted to
     the following method(s) of alternative dispute resolution:

    Plaintiff recommends that the case be submitted to case evaluation after the conclusion of
    discovery, followed by a magistrate’s settlement conference. Defendants do not agree to
    binding state court case evaluation but would agree to facilitation.

 14. Length of Trial: Counsel estimate that trial will last approximately ____ full days total,
     allocated as follows: _3_ days for plaintiff’s case, _2__ days for defendant’s case, _0_
     days for other parties.

 15. Prospects of Settlement: The status of settlement negotiations is:

 Plaintiff’s statement: Plaintiff was unable to discuss settlement prior to suit due to the short
 statute of limitations (90 days) on a Michigan Whistleblower’s claim. Plaintiff’s counsel and
 Defendant’s discussed settlement in particular, and Plaintiff submitted a formal demand, on
 February 20, 2017. Plaintiff anticipates, in light of the parties’ relative positions, that
 discovery will be necessary before meaningful discussions as to settlement may occur.

 Defendants’ statement: A settlement offer was made to Plaintiff on February 21, 2017.




                                              5
 Case 1:16-cv-01316-GJQ-RSK ECF No. 10 filed 02/21/17 PageID.72 Page 6 of 6



   16. Electronic Document Filing System: The parties acknowledge that they have read, and
       understood, LCivR 5.7(a) and will appropriately use the ECF system, or effect paper
       service on any pro se parties (if any).

   17. Other:

   The parties do not foresee any characteristics of this case that may warrant extended
   discovery, accelerated disposition by motion, or other factors relevant.

                                                       Respectfully Submitted,

Dated: 2/21/17                                         __/s/ Collin H. Nyeholt____
                                                       Collin H. Nyeholt
                                                       Attorney for the Plaintiff

                                                       /s/ Audrey J. Forbush
                                                       Audrey J. Forbush (P41744)
                                                       Attorney for Defendants




                                            6
